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         MENZIES AVIATION (USA), INC.
  10

  11                        UNITED STATES DISTRICT COURT
  12                       CENTRAL DISTRICT OF CALIFORNIA
  13

  14 DORA PATRICIA AMAYA, an                       Case No. 2:22-cv-05915-HDV-MARx
     individual; and BRAYAN LOZANO
  15 GONZALEZ, an individual; on behalf of         DECLARATION OF TALIN
     themselves and others similarly situated,     BAZERKANIAN IN SUPPORT OF
  16                                               DEFENDANT MENZIES AVIATION
                                     Plaintiffs,   (USA), INC.’S MOTION FOR
  17                                               PARTIAL SUMMARY JUDGMENT
                    vs.
  18                                               Date:    October 26, 2023
     MENZIES AVIATION (USA), INC., a               Time:    10:00 a.m.
  19 Delaware corporation; and DOES 1              Ctrm.:   5B, 5th Floor
     through 10, inclusive,                        Judge:   Hon. Hernán D. Vera
  20
                                Defendants.
  21                                               Complaint Filed: August 19, 2022
                                                   FAC Filed:       August 30, 2022
  22                                               SAC Filed:       May 9, 2023
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                   DECLARATION OF BAZERKANIAN ISO DEFENDANT MENZIES’ MSJ
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    1                           DECLARATION OF TALIN BAZERKANIAN
    2              I, Talin Bazerkanian, declare as follows:
    3              1.    I am currently the Western Region Human Resources Director for Menzies
    4    Aviation, a position I have held since February 2017. Prior to holding this role, I have
    5    worked in a variety of human resources roles for Menzies Aviation, and have always had
    6    human resources responsibility for Menzies’ operations throughout California since 2011.
    7    I have also been continuously employed by Menzies (or its predecessor entity) since
    8    1993. During that time, I have become completely familiar with all aspects of Menzies’
    9    personnel policies and operations in California, and I personally have access to all
  10     personnel records maintained in the ordinary course of business for Menzies’ employees
  11     in California. I have personal knowledge of the facts stated in this declaration, and if
  12     called upon as a witness, I could and would competently testify thereto.
  13               2.    Menzies is an aviation services business that provides ground handling
  14     services to commercial airlines’ aircraft, cargo handling services in airlines’ cargo
  15     warehouses, and both aircraft fueling to airlines and fuel facilities management services
  16     to airports. Ground handling includes servicing aircraft while parked at passenger gates
  17     “above the wing” in the passenger terminals through passenger service personnel who
  18     assist passengers with tickets and boarding and cabin crews who clean aircraft and check
  19     security requirements between flights. It also includes “below the wing” work on the
  20     ramp, such as offloading and loading of baggage and cargo, guiding taxiing aircraft when
  21     they arrive, securing aircraft with chocks and cones, and towing aircraft out of the gate
  22     area for departure.
  23               3.    On the cargo side of the business, Menzies’ employees work inside
  24     warehouses away from passenger aircraft and receive, process and sort inbound and
  25     outbound in preparation for loading onto aircraft by Menzies’ ramp operations – but do
  26     not themselves load cargo onto aircraft. It also includes individuals who work in offices
  27     inside the cargo warehouse processing paperwork related to commercial cargo
  28     movements without a direct hands-on relationship with the cargo itself.

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    1              4.    On the fueling side of its operations, Menzies employees both pump jet fuel
    2    from tankers or airport hydrant systems onto aircraft, operate an airport’s fuel tank
    3    “farm” well away from passenger gates and monitor via computer the various fueling
    4    infrastructure. Other employees perform routine and emergency maintenance for hydrant
    5    systems and fueling equipment all over an airport.
    6              5.    All told, across all these various types of work, which Menzies performs at
    7    Los Angeles International Airport, San Francisco International Airport, Ontario
    8    International Airport, San Diego International Airport, and Long Beach Airport, Menzies
    9    maintains over 70 different non-exempt job classifications for people performing these
  10     various job functions and the administrative work necessary to support the operational
  11     positions. Other than the administrative personnel – such as accounting and human
  12     resources roles – virtually all of these non-exempt employees are represented by one of
  13     the several unions at Menzies, all pursuant to a series of collective bargaining agreements
  14     that differentiate employees by job classification and location. During the period
  15     between 2018 to present, Menzies has been a party to the following Collective
  16     Bargaining Agreements which cover employees in many job classifications at multiple
  17     locations in California:
  18                     a.    SFO ITP Employee Agreement with SEIU United Service Workers
  19     West, which applies to Fuelers, GSE Fuelers, and Lead Fuelers who work at San
  20     Francisco International Airport (“SFO CBA”). A true and correct copy of the cover page
  21     and excerpts from the SFO CBA are attached hereto as Exhibit A.
  22                     b.    Labor Agreement with Local 74, United Service Workers Union,
  23     IUJAT, which applies to Fuelers, GSE Mechanics, and Leads who work at the San Diego
  24     International Airport (“SD CBA”). A true and correct copy of the cover page and
  25     excerpts from the SD CBA are attached hereto as Exhibit B.
  26                     c.    Labor Agreement with Teamsters Local #986 at Los Angeles
  27     International Airport, which applies to GSE Mechanics and QC Technicians who work at
  28     Los Angeles International Airport (“LAX CBA”). A true and correct copy of the cover

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    1    page and excerpts from the LAX CBA are attached hereto as Exhibit C.
    2                    d.    Agreement with Local 74, United Service Workers Union, IUJAT,
    3    which applies to Drivers, Lead Drivers, Apprentice Drivers, and GSE Mechanics who
    4    work at Menzies’ Long Beach operation (“LB CBA”). A true and correct copy of the
    5    cover page and excerpts from the LB CBA are attached hereto as Exhibit D.
    6                    e.    Agreement with Teamsters Union Local 986, which applies to
    7    Mechanics, Maintenance, Fuelers, Tankers, Utility, and Quality Control employees who
    8    work at LAX (“LAX CBA 2”). A true and correct copy of the cover page and excerpts
    9    from the LAX CBA 2 are attached hereto as Exhibit E.
  10                     f.    LAX Ground Services Agreement with SEIU United Service Workers
  11     West, which applies to Ground Service Employees at LAX including GSE Mechanics,
  12     Admin Assistant, Leads, Bagroom Agents, Lavatory Agents, Cabin Cleaners, Tow
  13     Drivers, Cargo Agents, Cargo Runners, Cargo Agents Freighter, Cargo Handlers,
  14     Documentation Agents, Fuelers, GSE Admins, GSE Utility, Maintenance Workers,
  15     Passenger Service Agents, Ramp Agents, Timekeepers, and Wingwalkers (LAX CBA
  16     Ground Service). A true and correct copy of the cover page and excerpts from the LAX
  17     CBA Ground Service are attached hereto as Exhibit F.
  18                     g.    LAX Master Passenger Services Agreement with SEIU United
  19     Service Workers West, which applies to Passenger Services workers including Cargo,
  20     Baggage, Cabin, Catering, Passenger Service, Security, and Janitorial at LAX (“LAX
  21     MPSA CBA”). A true and correct copy of the cover page and excerpts from the LAX
  22     MPSA CBA are attached hereto as Exhibit G.
  23               6.    Plaintiff Dora Patricia Amaya has been on a leave of absence since
  24     December 8, 2022 and has not performed any work since this time.
  25     ///
  26     ///
  27     ///
  28     ///

                        DECLARATION OF BAZERKANIAN ISO DEFENDANT MENZIES’ MSJ
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    1              I declare under penalty of perjury under the laws of the State of California and the
    2    United States that the foregoing is true and correct.
    3              Executed on August 10, 2023 at Los Angeles, California.
    4

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                                                       Talin Bazerkanian
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                       DECLARATION OF BAZERKANIAN ISO DEFENDANT MENZIES’ MSJ
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                             EXHIBITA
                             EXHIBIT A




                                       6
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                          SFO ITP Employee Agreement

                        August 1, 2018 to April 30, 2022

                                     between

                       SEIU United Service Workers West

                                       and

                        Aircraft Service International, Inc.




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         H. Time Limits: No grievance shall be considered unless the grieving party files a complaint with the other
            party, in writing, not more than thirty {30) days after the date the grieving party knew or should have
            known of the alleged action which gave rise to the complaint. Any grievance not submitted within the
            time limits provided for in this Article shall be deemed waived. This waiver shall not be construed to
            limit back-pay awards or settlement to 60 days for continuing wage violations exclusive of classification
            wage claims. Probationary employees do not have recourse to the Expedited Arbitration Procedure.
        I. Election of Formal Arbitration: In the event either party believes the matters raised by a grievance are
            of such importance as to override the desirability of the expedited and informal arbitration procedures
            contained in this Article, such party shall advise the other in writing of its desire to proceed to
            arbitration under the provisions of Article 13.1 of this Agreement, wherein the parties are not limited to
            representatio n by any person of their choice.
        J. Non-binding Mediation: Following the completion of Step 2 Grievance, either party may request non-
            binding mediation using the procedure described in Article 13.1 of this Agreement.



   ARTICLE 14 WORKING CONDITIONS
   Section 1, Uniforms:
   1) The Employer will furnish the Employees with a sufficient amount of wash and wear uniforms to be worn
      during work hours, in a sufficient quantity. The Employer will replace soiled and worn uniforms as needed.
      Furthermore, the Employer will furnish jackets, gloves and rain gear to all employees who are required to
      work outside during inclement weather. For employees whose assignments require their use, the Employer
      will furnish safety vests. When necessary, the Employer shall provide the employee with modified uniforms
      to provide reasonable accommodati on for medical conditions. Employer will provide Skycaps with at least
      one (1) cap.
   2) Employees will be responsible for replacement costs of uniform and equipment damaged, lost or stolen due
      to the Employee' s intentional acts or negligence.
   3) All employees will be required to wear said uniforms while on duty. Customer facing positions shall display a
      clean, neat and properly fitting appearance and a courteous attitude in public and to customers of the
      Employer or the Airport at all times.
   4) Upon termination of employment with the Employer, Employees must return all uniforms in their
      possession.

   Section 2, Materials and Equipment:
   1)   General Requirements
        a) The Employer agrees to provide and to maintain properly equipment and materials adequate to
           perform any and all work assignments. The Employer agrees that all chemicals provided to employees
           by the Employer will be properly labeled, including but not limited to health, safety and utilization
           instructions, and that employees will be instructed and trained in their use.
        b) The Employer agrees to provide proper safety appliances and equipment to safeguard the
           health and safety of all employees, and to observe all federal and state laws regarding working
           conditions.
        c) In the event an employee is required to wear safety gloves, earplugs, ergonomicall y correct back
           braces, the Employer shall furnish and maintain all such items and to replace such items as
           needed to keep up with regular wear and tear.
        d) Employees whose duties require them to stand in one place for a period longer than one hour
           shall be furnished rubber mats.




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       e) Safety Shoes: If the Employer requires the use of safety shoes which are not appropriate
                                                                                                      for daily
           casual wear outside of work, the Employer shall provide or reimburse the worker for the full
                                                                                                          cost of
           the shoes, not to exceed one pair or a value of forty dollars every twelve (12) months or as needed
           with exchange of the worn shoes to verify wear and tear.
    2) Accidental Equipment Breakage: Employees shall not be liable for any accidental breakage.

   Section 3, Break Rooms:
   1) The Employer shall provide an adequate break room in each terminal and/or area where
                                                                                               Employees work if
      the Employer can acquire the space from the client or the airport. The break room shall contain
                                                                                                      appliances
      to heat food and keep it cold, as well as enough tables and chairs to accommod ate Employees
                                                                                                    who will take
      their break at the same time.

   2) If the Employer is not able to secure adequate space as above, Employees shall not be disciplined
                                                                                                        for taking
      their breaks or eating in any public or common area of the terminal and/or area where they
                                                                                                  work, unless
      restricted by the Employer's client or Airport regulations.

   3) The Employer and the Union will form a labor-management committee including all signatory
                                                                                                    Employers to
      identify those terminals and work areas where the Employer is not able to secure adequate space
                                                                                                        and airline
      or airport restrictions prevent Employees from taking breaks or eating in public or common areas,
                                                                                                         identify
      alternative areas where Employees may take breaks or eat, and determine appropriate travel
                                                                                                   time to allow
      Employees to use such alternative areas. This committee will convene within ninety (90) days
                                                                                                    of ratification
      (July 1, 2013) of this Agreement.

   Section 4, Lockers:
   The Employer shall provide enough lockers in each terminal and/or working area to accommoda
                                                                                               te all
   employees, if the Employer can acquire the space from the client or the airport.

   Section 5, Bulletin Boards:
   The Employer agrees to furnish a dedicated Employee bulletin board in the areas where Employees
                                                                                                       sign in, for
   the purpose of sharing information about Union meetings, events, elections, etc., if the Employer
                                                                                                     can acquire
   the space from the client or the airport. Union stewards and union representatives shall have
                                                                                                 sole authority to
   determine what material is posted on bulletin boards.

   Section 6, Steward Petitions:
   The Employer agrees to meet and confer in response to Employee petitions presented by the
                                                                                                   shop steward.

   Section 7, No Speed-Up :
   Except as otherwise provided in this Agreement, there shall be no speed-up or increase in the
                                                                                                 workload so as to
   impose an undue burden upon any Employee covered by the Agreement, or where the effect
                                                                                                 of such speed-up
   or increase in the workload will unreasonably: diminish the work force or lessen the total number
                                                                                                     of hours
   worked at any job location.

   Section 8, Lie Detector Tests:
   Nothing in this Agreement shall prohibit any Employee from volunteerin g to take a lie detector
                                                                                                     test, however,
   the Employer shall not require any Employee to take any lie detector test and shall not take any
                                                                                                      discriminat ory
   or disciplinary action against an Employee who refuses to take a lie detector test, regardless
                                                                                                  of circumstances
   involved.




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   or bidding for work not currently covered by any Union agreement (new, non-Union work). Bidding
   circumstances may include bidding to retain existing work or bidding to acquire another signatory's
                                                                                                           work.

  Section 4:
  Notwithsta nding anything to the contrary stated in this Agreement, the Employer may elect to
                                                                                                recognize,
  observe and incorporate as part of its collective bargaining agreement any non-economic provisions
                                                                                                      of any
  collective bargaining agreemen t executed between SEIU-USWW and Menzies Aviation or any other
                                                                                                     collective
  bargaining agreement with SEIU-USWW and any other Employer covering job classifications outlined
                                                                                                      by this
  Agreemen t at San Francisco Internation al Airport.



  ARTICLE 21. NO STRIKE - NO LOCKOUT
      a) The union agrees that it will not collectively, concertedly or individually engage in or participate
                                                                                                              , directly
         or indirectly play a part in: any strike, sympathy strike, slowdown, work stoppage, refusal to handle
         merchandise, the distribution of pamphlets by either physical or electronic means that concerns
                                                                                                                matters
         covered by the grievance and arbitration provisions of this agreement, bannering or any other
         interference with or interruptio n of the work or operations of the employer during the term of
                                                                                                             this
         agreement.
      b) In exchange the employer agrees that during the term of this agreement it will not lock out
                                                                                                         any of the
         employees in the bargaining unit covered by this agreement .
      c) It is specifically agreed and understood that proven violations of Section 1.a) above will subject
         Employees to terminatio n or other disciplinary action at the sole discretion of the Employer.
      d) Personal communications by individual employees by electronic or other means regarding
                                                                                                        matters
         covered by the grievance and arbitration provisions ofthis agreement which do not interrupt work
         performance, operations or client relations will not be considered violations of Section a) above.



  ARTICLE 22. SAVING CLAUSE
  In the event the courts should decide that any clause or part of this Agreement is unconstitutional
                                                                                                      or illegal, or
  should any clause or part of this Agreement be found contrary to present or future laws, it shall
                                                                                                    not invalidate
  the other provisions of this Agreement .



  ARTICLE 23. MANAGEMENT RIGHTS
  Except as provided in this Agreement, the management of the Employer's operation and the direction
                                                                                                            of the
  Employees, including all of the rights, powers, authority and prerogatives, which the Employer
                                                                                                    has traditional ly
  exercised, are expressly reserved to the Employer. Manageme nt agrees to exercise these rights
                                                                                                     consistent with
  its obligations under applicable Federal, state, and local laws. The choice, control, and supervisory
                                                                                                        and
  manageme nt staff shall be vested solely and exclusively in the Employer.

 All management functions, rights and responsibilities which the employer has not expressly modified
                                                                                                           or
 restricted by a specific provision of this agreement are retained and vested exclusively in the employer.
                                                                                                              More
 specifically, without limiting the generality of the foregoing, the employer retains the exclusive
                                                                                                    right to direct
 and schedule the work force; to plan, direct and control operations; to establish, reorganize, combine
                                                                                                             or
 discontinue operations; to contract out work; to hire, promote, transfer, lay-off and recall employees
                                                                                                            to work; to
 determine the number of employees and the duties to be performed ; to establish, add to, reduce,
                                                                                                        combine or
 discontinue job classifications; to reprimand, suspend, discharge or otherwise discipline employees
                                                                                                         for cause; to
 introduce new or improved methods, equipment and facilities; to make and change employer
                                                                                                   rules, regulations,


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  policies and practices not inconsistent with the terms of this agreement; and otherwise generally to manage the
  facilities of the employer so as to attain and maintain full operating efficiency.

  This Collective Bargaining Agreement (CBA) is intended to apply to San Francisco, California-based team
  members. The company Employee Handbook and all associated policies will remain in effect. If the terms of this
  Agreement conflict with Employee Handbook or company policy provisions, the CBA provisions will prevail. If
  the terms of this agreement violate any applicable federal, state, local or international law, then the terms of
  the law will prevail.




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    APPENDIX A: SCHEDULE OF RATES OF PAY

    Upon Ratification, Employees will receive across the board wage increases whenever the QSP is
                                                                                                   increase.
    For example: If the QSP has increase on February 1, then Employees will receive wage increases
                                                                                                         on
    February 1 of that year.
    The amount of wage increase is determine d by the amount in which the QSP has increased. For
                                                                                                  example:
    If QSP is increased by $0.90, then Employees will receive across the board wage increase of $0.90.

    The Ratification Date of this Agreement is July 2, 2019.

    Parking Reimbursement:
    The Employer will provide fully paid parking benefits effective July 1, 2013.

    All Lead Fuelers shall receive a premium of one-dollar and fifty cents ($2.00/hr.) in addition to
                                                                                                         his/her
    rate of pay, as set forth above. Also, the Lead Men shall receive any additional night shift differentia
                                                                                                             l, as
    set forth in the Differential paragraph stated below.

    GSE Fuelers newly coming under the terms of this Agreement shall be placed at the appropria
                                                                                                te wage
    scale based upon the above provisions.

    SHIFT DIFFERENTIAL: All employees who work a majority of their shift or any overtime between
                                                                                                  the hours
    of 2000 and 0459 shall receive an additional fifty cents ($0.50) per hour. For the purpose
                                                                                                     of this
    Agreement, "majority for their shift and/or overtime" is hereby recognized as having worked at
                                                                                                   least five
    and one-half (5-1/2) hours after 2000.

   CLASS "A" FUELER:
   Responsible for fueling aircraft by alternate fueling methods including drip sticks, tank to
                                                                                                tank fuel
   transfers and other flight deck responsibilities.

   REQUIRED SKILLS/QUALIFICATIONS
   •      Knowledge of Company Policy and Procedure
   •      Comply with Locations attendance/tardiness standards
   •      Comply with Locations job performance standards
   •      Must be fully trained as determine d by the Locations Training Manager
   •      Must possess valid driver's license
   •      Must possess a minimum of 6 months operations experience

   Class "A" Fueler shall be paid two dollars ($2.00) more per hour than the classification rate in
                                                                                                    effect at
   the time of designation.

   In all cases of increase or decrease in workforce, promotion s to new or vacant job openings, transfer
                                                                                                          to
   fill openings on other shifts, demotions or transfers involving the classifications covered
                                                                                                     by this




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                             EXHIBITB
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                     LABOR AGREEMENT

                               Between


         AIRCRAFT SERVICE INTERNATIONAL, INC.

                                And

        LOCAL 74, United Service Workers Union, IUJAT



                                 At

                      MENZIES AVIATION SAN DIEGO
                             STATION# 529

            SAN DIEGO INTERNATIONAL AIRPORT

                       San Diego, California




     Effective: May 22, 2018
     Duration: May 22, 2022




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      HOLIDAY PAY

     The table below sets out the 2018 Holiday schedule for all 2 Hourly Paid/Non-Exempt employees (excluding
     LAX).
     If you work on any of the holidays listed below, you will be entitled to receive holiday pay. In order to qualify
     for holiday pay you must have worked your scheduled shift on the day before and after the holiday. Failure to
     do so will result in the forfeiture of your holiday pay. There is not entitlement to time off in lieu of working on
     a holiday.

     Holiday Date Day

     New Years' Day January 1, 2018 Monday
     Independence Day July 4, 2018 Wednesday
     Thanksgiving Day November 22, 2018 Thursday
     Christmas Day December 25, 2018 Tuesday
     If you are not scheduled to work on any of these days, you will not receive any holiday pay for that day.
     Holiday pay will be paid at one and a quarter times ( 1.25) your normal rate of pay up to a maximum of 8 hours.
     The incremental amount paid as holiday pay will be shown on your pay check stub on a separate line from
     your regular pay and will be calculated using the fonnula of hours worked multiplied by one quarter (0.25) of
     your applicable normal rate of pay. Your regular pay for hours worked will be shown on your paystub in the
     usual way. Overtime rate will apply if you work additional hours at the rate stated in Section 7.

     If you have any questions regarding holidays and holiday pay, please see your local HR representative.



      BEREAVEMENT LEAVE

      In the event of a death in the immediate family (parent, son, daughter, wife, husband, brother or sister,
      mother-in-law, father-in-law or grandparents) of an employee covered by this Agreement, said employee
      shall be allowed up to two (2) days off with pay.
      If the above defined death in the immediate family occurs more than 500 miles from the ASIG SAN
      operation, the employee taking such time off will be allowed up to of five (5) day, the first 2 days with pay,
      all other days are without pay. The Company reserves the right to reguest proof of death and relationship for
      the death of a family member.

      Any other Leave of absence or illness that causes an employee to miss three davs of work or more must be
      coordinated through the Menzies Aviation Leaves Department.



      ARTICLE 9 - UNIFORMS
      In the event the Employer requires the wearing of uniforms, it is agreed that such uniform shall be furnished
      and maintained by the Employer. The employee agrees to take good care of such uniforms and not wear them
      except in the course of his/her working hours, meal times excepted.

      Shorts may be worn by the employees in a style and color approved by the Employer. Employees must order
      the unifonns through the Employer's supplier and are responsible for the cost of the shorts.
      Employer will purchase and maintain a supply of raingear that will be issued to employees during inclement
      weather.




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      APPENDIX "A"


      WAGE SCALE: Effective 9/1/2018, in lieu ofretro from 5/21/2018 to August 31, 2018 a onetime $300.00

      sign on bonus will ONLY be available to employees that were hired prior to expiration of the old contract.

      FUELER

      START:                           $ 12.751hr.
      After 6 Month                    $ 13.001hr.
      7/1 /2018                        $13.25/hr
      1/1/2020                         $13.75/hr
      1/ 1/2021                        $14.75/hr

      GSE iv1ECHANICS
      START:                           $17.00/hr.

      GSE Mechanics will be covered under state law.




      Lead Pav: + $ 2.001hr.




      GENERAL:           Any of the above referenced classifications may perform the job function of any other
      classification in order to meet the contractual commitments of the Employer.

      As of June 2006 the Employer will no longer pay for employee parking for new employees during their
      first year of employment.




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    AS IG - LAX: GSE Mechanics
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                                 LABOR AGREEMENT

                                             between
        AIRCRAFT SERVICE INTERNATIONAL, INC.
                                     LAX STATION #503

                                                and

                                  TEAMSTERS LOCAL #986
                                                At
                                 Los Angeles International Airport
                                     Los Angeles, California

                    REPRESENTING THE MECHANICS
                               AND
                        RELATED EMPLOYEES




             Effective: March 2, 2016

             Amendable Date: March 3, 2019




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  ASIG - LAX : GSE Mechanics
  201 6-201 9


  Any/all on-the-job injuries that are not an emergency or which do not require eminent medical
  attention, the effected employee will participate in the Company's "Priority Care 365 / ask a Nurse
  program". The Union and the Company agree that this program evaluates the emergency
  situation, provides immediate treatment information, provides self-care info for the affected
  worker, provides follow up care and aid if needed and increase worker satisfaction.

      a) Once an employee reports an injury that is not an emergency or which does not require
         eminent medical attention to his/her Manager/Supervisor and the employee requires first
         aid as defined by OSHA 29 or CFA 1904.7 and then no further care is requested, there is no
         requirement to call PC 365 Nurse. The Employee will then need to utilize a Medical Refusal
            Form.

       b) If the Employee needs or requests medical care, His/her Manager/Supervisor will contact
          Ask-a-Nurse at 800-665-0836. The Employee is required to speak with the Nurse. A Nurse
          will complete an initial medical assessment and derive at a disposition, self-care or medical
            care for the employee.

  ARTICLE XVIII - UNIFORMS

  The EMPLOYER shall furnish and maintain all uniforms which shall include the laundering thereof at
  no cost to the employee. The EMPLOYER will provide employees with a sufficient supply of gloves
  (once a month).

  ARTICLE XIX - HEALTH AND WELFARE

  The Company will provide company health care coverage to all eligible employees, as defined by the plan,
  provided all paperwork has been submitted within the applicable time frame. Should eligibility changes
  be mandated by the Health Care Reform Law, aka, the Affordable Care Act, or state law relative to eligibility
  requirements, levels of coverage or premiums; the law will govern. The Company and the Union agree to
  automatic changes in the eligibility definition unless said changes result in a change in the premiums or cost
  to comply with the Affordable Care Act's requirements.

       1. The employer shall provide group medical/dental/vision coverage for all eligible employees, as
          defined by the plan after meeting eligibility requirements.

            a. Effective 1/1/2017: Employee contributions shall be at Company established rates for all
               plans; all levels of coverage.

       2.   DELETED


  LIFE INSURANCE:

  The COMPANY will provide Life Insurance in the amount of ten thousand dollars ($10,000.00) for


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  ASIG - LAX: GSE Mechanics
  201 6-2019



                                                 Appendix "A"
  Wage scale

  Starting Hourly Rate:
  GSE
  Mechanic            $19.00 - EFFECTIVE UPON RATIFICATION

  MECHANIC HELPERS REMOVED FROM AGREEMENT

  QC Technician                Effective upon ratification, the starting wage for QC Technicians will be adjusted to
                               the non-benefited rate per the Living Wage Ordinance (regardless of benefit status)
                               and will be adjusted per increases to the LWO.

  Employees holding positions set forth above shall receive general increases as follows:

                     •        Effective March 1, 2016        3%
                     •        Effective March 1, 2017        3%
                     •        Effective March 1, 2018        3%

       *       REMOVED

  GSE Mechanic & QC Technicians

  Any employee working as a Lead GSE Mechanic will receive One dollar ($1 .00) per hour while
  performing work as a GSE lead Mechanic.

  Shift differential - Shall be $.50/hr. for all shifts starting at or between 2000 and 0400 hours.

  COMPANY will pay Airport Parking Fees for all full-time employees with more than six (6) months of
  continuous service with the Company.

  GSE Mechanic's will be compensated for company required certification.
  GSE Mechanics will be paid fifteen cents ($.15) per hour for each required certification up to a maximum
  of five (5) certificates or seventy-five cents ($ .75) per hour. The employee is responsible to keep all
  certifications current. In the event that a certification expires, that employee's hourly wage will be deducted
  fifteen cents ($ .15) for each expired certification.

  Superior workman clause.

  The wage scales in this Agreement are minimum scales and do not prohibit the Employer from paying higher
  wages. It is specifically agreed that employees compensated at said higher wage rates may be returned to the
  scales published herein at the sole discretion of the Employer. Employees paid Superior Workmen rates shall
   have their wages increased by amounts of not less than the increases in the minimum w age scales as specified
   in Exhibit 1, attached to and made part of this Agreement, for the classifications in which they are employed.


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                                        AGREEMENT
                                                 Between



         AIRCRAFT SERVICE INTERNATIONAL, INC. dba

                                   MENZIES AVIATION
                                                  And

           LOCAL 74, United Service Workers Union, IUJAT


                                                    At

                             ASIG dba MENZIES i FUEL LOGISTICS

                                         Long Beach, California




         Effective : November I, 2019
         Duration: October 31, 2022




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        It is agreed that overtime payment shall not be pyramided, and that no employee shall be paid
        twice for the same hours worked.

        There shall be a minimum four ( 4) hours call-in for all full-time employees.

        Overtime shall be offered according to seniority wherever possible. If at any time no one accepts
        the offered overtime, the Employer may start drafting employees from the bottom of the
        seniority list but will include all employees in the draft on a rotating basis. As far a possible the
        employer will draft employees for over time only on the employee's first four days of the
        employee's regular work week.


        Paid rest periods shall be computed on the basis of ten ( l 0) minutes within each four (4) hours
        working time or major fractions thereof, which insofar as practical shall be in the middle of each
        work period. Employees are responsible for utilizing rest and/or lunch periods, and must notify
        their Supervisor as soon as possible if unable to take such rest or lunch period

        Overnight Expense · - When the employee is compelled to be out of town overnight at the
        request of the Employer, he shall be paid the appropriate rate in accordance with the terms of this
        Agreement, while in actual service, and shall receive, hi addition, reimbursement of reasonable
        and actual expenses not the exceed a total of one hundred dollars ($100.00) per day.


        No pay shall be granted under this section where work is not available by such reasons as
        including, but not limited to, dismissal for just cause, an Act of God, fire, flood, power failure,
        loss of business or Airport closure.

        ARTICLE 8 - UNIFORMS

        In the event the Employer requires the wearing of uniforms, it is agreed that such uniform shall
        be furnished by the Employer and maintained by the Employee . The employee agrees to take
        good care of such uniforms and not wear them except in the course of his/her working hours,
        meal times excepted.

       Shorts may be worn by the employees in a style and color approved by the Employer. Employees
       must order the uniforms through the Employer's supplier.

       When the Company provides uniforms and personal protective equipment (PPE) for use during
       employee's scheduled work shift, they must be worn in their entirety, without substitution of
       personal clothing or articles and in accordance with the Company's unifonn policy. All uniforms
       and personal protective equipment will remain the property of the Company. It is the employee's
       responsibility to see that they are kept neat, clean and in good condition. Employees will be
       expected to reimburse the Company for their loss or abuse and agree to allow the Company to
       make payroll deductions to cover such damage.



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                        AGREEMENT
                         BETWEEN
                     TEAMSTERS UNION
                         LOCAL 986




                           AND

                      MENZIES, INC.
            January 1, 2020 - December 31, 2024




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                                                    WORKING CONDITIONS

                 LJNI FORMS: When the Company requires employees to wear any particular type of unifom1.
                 that uniform shall be furnished by the Company.                                                                lo


                 a.      The company agrees lo supply eleven {I IJ sets of uniforms, consisting of six (6) pairs of pants and
                         five (5) pairs of shorts and eleven {I I) shirts. TI1e company agrees to supply one (I) static proof
                         jacket to each employee.

                 b.       If any of the above items are lost or subjected to needless wear and tear, the employee will be
                         required to replace the lost or damaged uniforms themselves. It is understood that should the
                         employee dispute the Companies position related to the condition of their uniforms, the employee
                         has the right to consult with the Shop Steward and meet with the Company to further discuss the
                         matter prior to final payment being sought by the Company.

                 c.      Should the employee fail to make applicable restitution to the Company within two weeks of
                         said meeting, the Company has the right lo commence payroll deductions. Such deductions will
                         be based on a maximum of fifiy dollars $50.00 per week until such time as the full debt has been
                         collected.

                 d.      Any employee leaving the employ of the Company must return all of the above items in their
                         possession at the time their employment ceases.

                 SAFETY: A Safety Committee shall be selected to consist of one employee form al least two shins. TI1is
                 Committee shall discuss safety conditions with the General Manager or their designated representative at
                 intervals of not less frequently than thirty (30) days.

                 BARGAINING LJN!T WORK: Supervisory employees will perform work of union classifications covered
                 by this Agreement only for training purposes, emergencies, testing equipment or safety or perfom1ance
                 reasons.

        •I.      LEAD: The deletion of LEAD REFUELLER CLASS IFICATION is agreed to by both parties.

                LEAD MECHANIC: The lead mechanic, when appointed by the Company. shall receive one dollar and
                fifty cents($] .50) per hour above the highest paid mechanic in that classification for the duration of such
                appointment.

                SUPERVISORY POSITIONS: Qualified employees who bid such positions and who arc selected by the
                Company to perform Supervisory duties shall be on probation for a period of one hundred and eighty
                (180) calendar days. If at any time during the one hundred and eighty (180) day probationary period the
                Company considers the employee is unsuitable for such Supervisory position notice will be given to the
                employee to such effect and he/she will return to his/her former classification without loss of accumulated
                seniority or pay status in such classification.




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      7.     LUNCH BREAKS: Lunch breaks shall be between 3 ½ and 5 ½ hours of each eight (8) hour shift wor,~d
             In the event that an employee's lunch break is interrupted, such employee shall be paid an additional r "~
             (I) hour at straight time and be reassigned a later lunch break. It is understood and agreed that any su ·!1
             payments for interrupted lunches must be authorized by the supervisor on shift at the time of the inci dent
             or the manager.

      8.     GENERAL CONDITIONS: The Company shall assign two (2) men to any overwing fuelling job where
             a two (2) inch or larger hose is used. However. only one (l) Driver shall be necessary if the customer
             receiving service furnishes an employee to assist in the fueling operation.

             a.     In the event that a new job or position is established as the result of introduclion of new work a,
                    the result of a change in the duties or requirements of an established job, the Company ~hal l
                    establish the rate for such job and submit it to the Union for approval. In the event that agreem~nt
                    is not reached within fifteen ( 15) calendar days, either party may refer the matter to arbitrati on in
                    accordance with the provisions of Article Ill, Section 2, of the Agreement. The arbitrator shall
                    have the authority to detennine the rate of the new job on the sole basis of the relationship the new
                    or amended job bears to the other established jobs and rates. Any changes in the established rat~
                    resulting from the negotiations shall be retroactive to the date when such rate was placed in eficcl.


             b.     In the event that fuelers are not available to fuel airlines or related equipment other bargai11i11g
                    union classifications will be assigned in order to of qualifications and seniority.

             c.     Cargo/Class "A., Drivers assigned to remote areas where break rooms arc not available and th~
                    driver isn' t able or relieved to use the company provided break area will receive a paid lunch.

      9.     BEREAVEMENT LEA VE: It is agreed that in the event of death in the immediate family (either parent,
             mother or father-in-law, son daughter, wile, husband, brother, sister, step-parents or grandparents) ofth~
             employee covered by this Agreement, said employee shall be allowed at that time bereavement leave to a
             maximum of three (3) regular work days off between (and including) the day of death and the da,
             following the date of the funeral at regular straight time pay. In no event shall a total of more than si~
             (6) days with pay be granted to an employee in any one (1) service year.

      10.    PAYROLL. !fa mistake in excess of forty dollars ($40.00) is made on an employe~s payroll, through no
             fault of the employee, the Company will furnish a sepamte check to correct the error within twenty-four
             hours of verifying the mistake.

      I I.   Parking to be provided to all employees at no cost within thirty (30) minutes of their check in area.




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                                        MEMORANDUM OF UNDERSTANDING #2

       RE: SAFETY FOOTWEAR PROGRAM
       ft is hereby understood and agreed by and between Menzies, Inc. and Teamsters Union Local 986, that in order
       to enhance and reward work place safety the following work place safety incentive program shall be instituted.
       All Full and Part Time Aircraft Refuclers. Maintenance and Utility personnel who will have worked for a period
       of twelve (12) months prior to Jun I , 2009 of any given year and remain employed by Menzies, Inc. as of June 1,
       and have not incurred an injury, whether due to their actions or the actions of others will be eligible for this
       program. Employees must work a minimum of 1248 hours in the twelve (12) month period prior to June I to be
       eligible.

       Entitlement:    Full-time and Part-time employees who have completed ooe (I) year of service but less than three
                       (3) years of service will be entitled to a footwear value of sixty dollars ($60.00).
                       Full-time and Part-time employees who have completed three (3) years of service but less than
                       five (5) years of service will be entitled to a footwear value of sixty-five dollars ($65.00).
                      Full-time and Part-time employees who have completed five (5) years of service but less than ten
                      ( I 0) years of service will be entitled to a footwear value of seventy dollars ($70.00),
                       Full-time and Part-time employees who have completed ten (I 0) years of service or greater will
                       be entitled to a footwear value of seventy-five dollars ($75.00).
       Menzies, Inc. will arrange with Shoeteria or another agent to be selected by the Company for footwear whose
       value will not exceed the employee entitlement inclusive of sales taxes, for all eligible employees. Employees
       will be able to select footwear fom1 Shocteria or another agent selected by the Company, who have a variety of
       footwear acceptable to the Company, whose value docs not exceed the employee entitlement inclusive of sales
       taxes.

       In the event the employee chooses a boot from Shoetcria or another agent se lected by the Company whose value
       exceeds the employee entitlement, inclusive of all sales taxes, the employ will pay the difference in cash to the
       supplier at the time of choosing said footwear . Such footwear must meet Company and industry safety
       requirements.
       Employees who have incurred injuries or have worked less than 1248 hours in the previous twelve (12) months
       (June I through May 3 1) will not be eligible for this program.

       All eligible employees, as per tl1e terms stated above, will have between June I, and June 30, inclusive (in the
       applicable year) to be fitted and choose by either Shoeteria or another agent as selected by the Company to receive
       the entitled footwear allowance in the amount of the applicable entitlement, including all sales taxes. ]fan eligible
       employee does not proceed within the applicable dates in obtaining their footwear under these agreements, by
       June 30, they will forfeit their eligibility of any footwear allowance and will not be compensated for the previous
       twelve month entitlement.




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                                        MEMORANDUM OF UNDERSTANDING #6

        RE: Facility Per5onnel Tool Allowance

        It is mutually agreed and understood that

        facility persoMel perform maintenance of the facilities as well as mobile equipment during their daily duties. In
        order 10 perform these duties, facility pcrsoMel purchase and utilize hand tools (a minimum list is contained on
        the following pages) which may from time lo time become damaged due to nonnal wear and tear. The Company
        recognizes the potential replacement need of the facility employees in this regard and hereby agree to pay up to a
        maximum of $250.00 annually for such replacemenL To obtain such reimbursement from the Company, the
        facility employees will be required to provide a valid receipt from a tool supplier as well as evidence the need for
        such replacement.

        This Memorandum of Understanding will remain in force for the duration of this Collective Agreement which
        commences on January 1, 2020.



        IN WITNESS WHERf.Of', The Parties have signed this Agreement this J:l day o f ~ , 20.l.~

        On behalf of:                                                On behalf of:

        Menzies, Inc.                                                Teamsters Local 986

                                                                     Dave Elmore

                                                                    ~ w> [:L..;n. .L
                                                                              I


                                                                     Business Representative




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                         LAX Ground Services Agreement

                         March 1, 2018 to April 30, 2022

                                      between

                        SEIU United Service Workers West

                                         and

                             Menzies Aviation (USA), Inc.




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                 1) The parties shall meet promptly to select mutually acceptable arbitrators.
                 2) The initial list of expedited arbitrators shall be reviewed and approved by both parties.
           Time Requirements: The Arbitrator shall be the sole arbitrator to hear and determine the matter. Such
           hearing shall be held within ten (10) days after the arbitrator receives notification of the dispute. The
           arbitrator shall consider and decide the grievance and shall render a decision immediately after hearing
           and consideration of all evidence presented. The arbitrator may request and upon mutual agreement of
           both parties to the dispute receive additional time to deliberate on the matters presented but in no case
           shall the decision be delayed beyond the forty-eight (48) hours following the close of the hearing.
           Arbitrator’s Decision: The Arbitrator shall orally advise the parties of his/her decision with a brief
           explanation of the basis thereof. The Arbitrator shall make a brief, signed note upon the written
           grievance stating his/her disposition of the matter. Such decision shall be final and binding on all parties
           to the dispute and the aggrieved employee, but shall not be considered as a precedent in any future
           proceeding.
           Informal Procedures: Any arbitration held under the provisions of this Article shall be conducted as
           informally as possible, consistent with a full and fair hearing of the issues. The parties to the proceeding
           shall be permitted to participate only through full-time operating officials who are not lawyers. The
           Arbitrator shall establish appropriate informal arbitration procedures and have the authority to exclude
           any representative of either party who does not meet the qualifications set forth in this Section.
           Expenses: Any expense incurred for the production of witnesses, or other evidence, shall be borne by the
           party seeking to produce such evidence or testimony. For the purposes of this Section, time spent as a
           witness shall not be construed as working time under the provisions of this Agreement.
           Arbitrator’s Authority: The Arbitrator shall have no authority to modify, add to, or subtract from any of
           the terms of this Agreement. Any expenses incidental to the conduct of the hearing, and the fee of the
           Arbitrator, shall be borne equally by the parties.
           Time Limits: No grievance shall be considered unless the grieving party files a complaint with the other
           party, in writing, not more than thirty (30) days after the date the grieving party knew or should have
           known of the alleged action which gave rise to the complaint. Any grievance not submitted within the
           time limits provided for in this Article shall be deemed waived. This waiver shall not be construed to limit
           back-pay awards or settlement to 60 days for continuing wage violations exclusive of classification wage
           claims. Probationary employees do not have recourse to the Expedited Arbitration Procedure.
           Election of Formal Arbitration: In the event either party believes the matters raised by a grievance are of
           such importance as to override the desirability of the expedited and informal arbitration procedures
           contained in this Article, such party shall advise the other in writing of its desire to proceed to arbitration
           under the provisions of Article 13.1 of this Agreement, wherein the parties are not limited to
           representation by any person of their choice.
           Non-binding Mediation: Following the completion of Step 2, either party may request non-binding
           mediation using the procedure described in Article 13.1 of this Agreement.


   ARTICLE 14: WORKING CONDITIONS
   Section 1, Uniforms:
      1.    The Employer will furnish the Employees with a sufficient amount of wash and wear uniforms to be
            worn during work hours, in a sufficient quantity.   The Employer will replace soiled and worn uniforms as
            needed.   Furthermore, the Employer will furnish jackets, gloves and rain gear to all employees who are
            required to work outside during inclement weather. For employees whose assignments require their
            use, the Employer will furnish safety vests. When necessary, the Employer shall provide the employee




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            with modified uniforms to provide reasonable accommodation for medical conditions. Employer will
            provide Skycaps with at least one (1) cap.
       2.   Employees will be responsible for replacement costs of uniform and equipment damaged, lost or stolen
            due to the Employee’s intentional acts or negligence.
       3.   All employees will be required to wear said uniforms while on duty. Customer facing positions shall
            display a clean, neat and properly fitting appearance and a courteous attitude in public and to
            customers of the Employer or the Airport at all times.
       4.   Upon termination of employment with the Employer, Employees must return all uniforms in their
            possession.

   Section 2, Materials and Equipment:
       1.   General Requirements
                a.  The Employer agrees to provide and to maintain properly equipment and materials adequate to
                    perform any and all work assignments. The Employer agrees that all chemicals provided to
                    employees by the Employer will be properly labeled, including but not limited to health, safety
                    and utilization instructions, and that employees will be instructed and trained in their use.
                    The Employer agrees to provide proper safety appliances and equipment to safeguard the
                    health and safety of all employees, and to observe all federal and state laws regarding
                    working conditions.
                    In the event an employee is required to wear safety gloves, earplugs, ergonomically correct
                    back braces, the Employer shall furnish and maintain all such items and to replace such
                    items as needed to keep up with regular wear and tear.
                    Employees whose duties require them to stand in one place for a period longer than one
                    hour shall be furnished rubber mats.
                    Safety Shoes:   If the Employer requires the use of safety shoes which are not appropriate for
                    daily casual wear outside of work, the Employer shall provide or reimburse the worker for the
                    full cost of the shoes, not to exceed one pair or a value of forty dollars every twelve (12) months
                    or as needed with exchange of the worn shoes to verify wear and tear.

       2.   Accidental Equipment Breakage:     Employees shall not be liable for any accidental breakage.

   Section 3, Break Rooms:
   The Employer shall provide an adequate break room in each terminal and/or area where Employees work if the
   Employer can acquire the space from the client or the airport. The break room shall contain appliances to heat
   food and keep it cold, as well as enough tables and chairs to accommodate Employees who will take their break
   at the same time.

   If the Employer is not able to secure adequate space as above, Employees shall not be disciplined for taking their
   breaks or eating in any public or common area of the terminal and/or area where they work, unless restricted by
   the Employer’s client or Airport regulations.

   The Employer and the Union will form a labor-management committee including all signatory Employers to
   identify those terminals and work areas where the Employer is not able to secure adequate space and airline or
   airport restrictions prevent Employees from taking breaks or eating in public or common areas, identify
   alternative areas where Employees may take breaks or eat, and determine appropriate travel time to allow
   Employees to use such alternative areas. This committee will convene within ninety (90) days of ratification
   (July 1, 2013) of this Agreement.




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                     LAX Master Passenger Services Agreement

                           May 1, 2017 to April 30, 2022

                                      between

                         SEIU United Service Workers West

                                         and

                                   ABM Aviation

                                 AeroPort Services

                                G2 Secure Staff, LLC

                          Gateway Frontline Services, Inc.

                             Menzies Aviation (USA) Inc.

                SDH Services West LLC, a subsidiary of Sodexo, Inc.

                                  SOS Security, LLP

                World Service West LA Inflight Service Company, LLC




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  income or unemployment insurance.       The arbitrator must consider any employee on workers comp or disability
  insurance as unable to have worked at his usual job because of such disability during the period time he/she was
  terminated or suspended without pay. The arbitrator's award shall be final and binding upon the parties.           The
  expenses of the arbitrator shail be borne equally by the parties. Either party shail have the right to utilize a
  court reporter, at its own expense.

  Section 6, Arbitration Hearing Limits:
  The arbitrator shall not have the right to hear more than one grievance at an arbitration hearing unless mutually
  agreed by both parties.

  Section 7, Failure to Respond Within Timelines:
  Grievances beyond the first step shall automatically be moved to the next level if either party fails to respond
  within the timelines described above. Timelines may be waived by mutual agreement in writing.

  Section 8, Failure to Comply with Signed Settlements or Arbitration Awards:
  In cases where the Union or the Employer fails or refuses to comply with the terms of a signed settlement
  agreement or arbitration award for more than thirty (30) days, the case may be moved immediately to
  arbitration or court to confirm the award.


  ARTICLE 15. WORKING CONDITIONS
  Section 1, Uniforms:
      a)   The Employer will furnish the employees with a sufficient amount of wash and wear uniforms to be
           worn during work hours, in a sufficient quantity.   The Employer will replace soiled and worn uniforms as
           needed.   Furthermore, the Employer will furnish jackets, gloves and rain gear to all employees who are
           required to work outside during inclement weather.       For employees whose assignments require their
           use, the Employer will furnish safety vests. When necessary, the Employer shall provide the employee
           with modified uniforms to provide reasonable accommodation for medical conditions. Employer will
           provide Skycaps with at least one (1) cap.
      b)   if the Employer charges a uniform deposit, they must do so in compliance with California Labor Code
           requirements. Employees will be responsible for replacement costs of uniform and equipment
           damaged, lost or stolen due to the employee’s dishonest or willful act, or gross negligence.
      c)   All employees will be required to wear said uniforms while on duty and present a neat appearance and a
           courteous attitude in public and to customers of the Employer or the Airport at all times.
      d}   Upon termination of employment with the Employer, employees must return all uniforms in their
           possession.

  Section 2, Materials and Equipment:
  1) General Requirements
      a)   The Employer agrees to provide and to maintain properly equipment and materials adequate to
           perform any and all work assignments. The Employer agrees that all chemicals provided to employees
           by the Employer will be properly labeled, including but not limited to health, safety and utilization
           instructions, and that employees will be instructed and trained in their use.
      b)   The Employer agrees to provide proper safety appliances and equipment to safeguard the
           health and safety of all employees, and to observe all federal and state laws regarding working
           conditions.




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       c)   Inthe event an employee is required to wear safety gloves, earplugs, ergonomically correct back
            braces, the Employer shall furnish and maintain all such items and to replace such items as
            needed to keep up with regular wear and tear.
       d)   Employees whose duties require them to stand in one place for a period longer than one hour
            shall be furnished rubber mats.
       e}   Safety Shoes: If the Employer requires the use of safety shoes which are not appropriate for daily
            casual wear outside of work, the Employer shall either provide or reimburse the worker for the full
            cost of the shoes as needed.
       f)   Upon employee request, and where prescribed by a health care professional in writing, the Employer
            will provide ergonomically correct back braces to employees who are required to
            i) Push wheelchair passengers up inclined ramps or walkways, or
            ii) lift or carry baggage or cargo as a routine job duty.
  2)   Accidental Equipment Breakage: Employees shall not be liable for any accidental breakage.

  Section 3, Break Rooms:
       a)   The Employer shall provide an adequate break room in each terminal and/or area where employees
            work if the Employer can acquire the space from the client or the Airport. The break room shall contain
            appliances to heat food and keep it cold, as well as enough tables and chairs to accommodate
            employees who will take their break at the same time.

       b)   If the Employer is not able to secure adequate space as above, employees shall not be disciplined for
            taking their breaks or eating in any public or common area of the terminal and/or area where they work,
            unless restricted by the Employer's client or Airport regulations.

       c)   The Employer and the Union will form a labor-management committee including all signatory Employers
            to identify those terminals and work areas where the Employer is not able to secure adequate space and
            airline or Airport restrictions prevent employees from taking breaks or eating in public or common
            areas, identify alternative areas where employees may take breaks or eat, and determine appropriate
            travel time to allow employees to use such alternative areas. This committee will convene within ninety
            (90} days of ratification of this Agreement.

  Section 4, Lockers:
  The Employer shall provide enough lockers in each terminal and/or working area to accommodate alt
  employees, if the Employer can acquire the space from the client or the airport.

  Section 5, Bulletin Boards:
  The Employer agrees to furnish a dedicated employee bulletin board in the areas where employees sign in, for
  the purpose of sharing information about Union meetings, events, elections, etc. Union stewards and Union
  representatives shall have sole authority to determine what material is posted on bulletin boards provided it is
  not false or misleading.

  Section 6, Steward Petitions:
  The Employer agrees to meet and confer in response to employee petitions related to workplace issues
  presented by the shop steward and such petitions shall only be presented to the Employer and not to the
  Employer’s customer.

  Section 7, No Speed-Up:
  Except as otherwise provided in this Agreement, there shall be no speed-up or increase in the workload so as to
  impose an undue burden upon any employee covered by the Agreement, or where the effect of such speed-up


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